                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                        Case No. 13-53846

CITY OF DETROIT, MICHIGAN,                                    Chapter 9

                Debtor.                                       Judge Thomas J. Tucker
                                        /

ORDER STRIKING RESPONSE OF ASSOCIATION OF MUNICIPAL ENGINEERS TO
MOTION OF THE GREAT LAKES WATER AUTHORITY FOR ORDER ENFORCING
   THE PLAN OF ADJUSTMENT INJUNCTION AND THE BAR DATE ORDER
AGAINST THE ASSOCIATION OF MUNICIPAL ENGINEERS AND PARTHO GHOSH

        On November 1, 2017, the Great Lakes Water Authority, as successor in interest to the
City of Detroit Water and Sewerage Department, filed a motion entitled “Great Lakes Water
Authority as Successor in Interest to the City of Detroit Water and Sewerage Department for
Entry of an Order Enforcing the Plan of Adjustment Injunction and the Bar Date Order Against
the Association of Municipal Engineers and Partho Ghosh” (Docket # 12714, the “Motion”).
Later, on November 1, 2017, Partho Ghosh, the President of the Association of Municipal
Engineers Union, who is not an attorney, filed a response to the Motion (Docket # 12716, the
“Response”).

         A layperson many not represent an artificial entity such as a corporation, partnership, or
association in federal court. Rowland v. California Men’s Colony, Unit II Men's Advisory
Council, 506 U.S. 194, 201–02 (1993) (citations omitted) (“[i]It has been the law for the better
part of two centuries . . . that a corporation may appear in the federal courts only through licensed
counsel;” and “as the courts have recognized, the rationale for that rule applies equally to all
artificial entities;” and “[t]hus, save in a few aberrant cases, the lower courts have uniformly held
that 28 U.S.C. § 1654, providing that ‘parties may plead and conduct their own cases personally
or by counsel,’ does not allow corporations, partnerships, or associations to appear in federal
court otherwise than through a licensed attorney”); see also Lattanzio v. Comta, 481 F.3d 137,
139 (2d Cir. 2007) (“A layperson may not represent a separate legal entity such as a corporation”
in federal court.); United States v. 9.19 Acres of Land, 416 F.2d 1244, 1245 (6th Cir. 1969) (“A
corporate president may not represent [his] corporation before a federal court. . . . [A]
corporation cannot appear otherwise than through an attorney.”).

         Accordingly,

         IT IS ORDERED that the Response to the Motion (Docket # 12716) is stricken.




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Signed on November 3, 2017




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